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   9   Attorneys for Plaintiff
  10

  11
                            UNITED STATES DISTRICT COURT
  12
                          CENTRAL DISTRICT OF CALIFORNIA
  13

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  15   SERENA FLEITES,                         CASE NO. 2:21-cv-4920
  16                                           JUDGE: HON. WESLEY L. HSU
                    Plaintiff,
  17                                           DECLARATION OF MICHAEL J.
             vs.                               BOWE IN SUPPORT OF
  18                                           PLAINTIFF’S OPPOSITION TO
  19
                                               DEFENDANTS’ MOTIONS TO
       MINDGEEK S.A.R.L. a foreign             DISMISS
  20
       entity; MG FREESITES, LTD., a
       foreign entity; MINDGEEK USA            Date:   JANUARY 31, 2025
  21   INCORPORATED, a Delaware                Time:   1:30 PM
                                               Courtroom:   9B
  22   corporation; MG PREMIUM LTD, a
       foreign entity; MG GLOBAL               SAC FILED: MAY 23, 2024
  23   ENTERTAINMENT INC., a
  24   Delaware corporation; 9219-1568
       QUEBEC, INC., a foreign entity;
  25   BERND BERGMAIR, a foreign
  26   individual; FERAS ANTOON, a
       foreign individual; DAVID
  27   TASSILLO, a foreign individual;
  28
                                                               CASE NO. 21-CV-04920-CJC-ADS
                    DECLARATION OF MICHAEL J. BOWE IN SUPPORT OF
               PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTIONS TO DISMISS
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   1   VISA INC., a Delaware corporation;
   2   REDWOOD CAPITAL
       MANAGEMENT, LLC, a Delaware
   3   corporation; REDWOOD MASTER
   4   FUND, LTD, a foreign entity;
       REDWOOD OPPORTUNITY
   5   MASTER FUND, LTD, a foreign
   6   entity; MANUEL 2018, LLC, a
       Delaware corporation;
   7   GINGOGERUM, LLC, a Delaware
   8   corporation; WHITE-HATHAWAY
       OPPORTUNITY FUND, LLC, a
   9   Delaware corporation; COLBECK
  10   CAPITAL MANAGEMENT, LLC, a
       Delaware corporation, CB MEDIA
  11   VENTURES LLC, a Delaware
  12   corporation; CB AGENCY
       SERVICES, LLC, a Delaware
  13   corporation; and CB
  14   PARTICIPATIONS SPV, LLC, a
       Delaware corporation,
  15

  16              Defendants.
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  28
                                          2             CASE NO. 21-CV-04920-CJC-ADS
                   DECLARATION OF MICHAEL J. BOWE IN SUPPORT OF
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   1                      DECLARATION OF MICHAEL J. BOWE
   2   I, Michael J. Bowe, declare as follows:
   3        1.      I am an attorney licensed to practice law in the State of New York and
   4   a partner with Brown Rudnick LLP. I have been admitted pro hac vice to practice
   5   before this Court. I am counsel for Plaintiff Serena Fleites in the above referenced
   6   matter. I submit this declaration in support of Plaintiff’s Omnibus Opposition to
   7   Defendants’ Motions to Dismiss. I have personal knowledge of the facts stated
   8   herein, and if called as a witness, I could and would competently testify thereto.
   9        2.      Attached hereto as Exhibit 1 are excerpts from the June 1, 2023
  10   Andreou Deposition Transcript, which has been designated as Confidential pursuant
  11   to the Stipulated Protective Order.
  12        3.      Attached hereto as Exhibit 2 are excerpts from the Canadian testimony
  13   and written submission of Defendants Antoon and Tassillo, dated February 5, 2021
  14   (Evidence – ETHI (43-2) - No. 19).
  15        4.      Attached hereto as Exhibit 3 are excerpts from the June 14, 2023
  16   Antoon Deposition Transcript, which has been designated as Confidential pursuant
  17   to the Stipulated Protective Order.
  18        5.      Attached hereto as Exhibit 4 are excerpts from the June 15, 2023
  19   Bergmair Deposition Transcript, which has been designated as Confidential
  20   pursuant to the Stipulated Protective Order.
  21        6.      Attached hereto as Exhibit 5 are excerpts from the June 16, 2023
  22   Tassillo Deposition Transcript. which has been designated as Confidential pursuant
  23   to the Stipulated Protective Order.
  24        7.      Attached hereto as Exhibit 6 is a true and correct copy of the October
  25   15, 2013 Manwin Holding S.a.r.l., Project No Name, Step Memorandum (produced
  26   as Bergmair_Fleites_00002186). Defendant Bergmair has designated this Step
  27   Memorandum as Highly Confidential and Attorneys’ Eyes Only pursuant to the
  28
                                             3             CASE NO. 21-CV-04920-CJC-ADS
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   1   Stipulated Protective Order.
   2        8.       Attached hereto at Exhibit 7 is a true and correct copy of the Report
   3   and Financial Statements for MG Freesites Ltd. for the years 2014 through 2019
   4   (produced as MindGeek_Fleites_00000376, MindGeek_Fleites_0000041,
   5   MindGeek_Fleites_00000456, MindGeek_Fleites_00000491,
   6   MindGeek_Fleites_00000527, and MindGeek_Fleites_00000564). The MindGeek
   7   Defendants have designated these Reports and Financial Statements for MG
   8   Freesites Ltd. as Confidential pursuant to the Stipulated Protective Order.
   9        9.       Attached hereto as Exhibit 8 is a true and correct copy of the July 1,
  10   2014 Alchemy Capital Planning LLC, Memorandum (produced as MGGT_000008).
  11        10.      Attached hereto as Exhibit 9 is a true and correct copy of the
  12   declaration of                 , CPA In Support of Plaintiff’s Omnibus Opposition to
  13   Defendants’ Motions to Dismiss Plaintiff’s Second Amended Complaint.
  14        11.      Attached hereto as Exhibit 10 is a true and correct copy of MindGeek
  15   S.a.r.l.’s April 2017 Confidential Information Memorandum (produced as
  16   MindGeek_Fleites_00008490). The MindGeek Defendants have designated
  17   MindGeek S.a.r.l.’s April 2017 Confidential Information Memorandum as Highly
  18   Confidential and Attorneys’ Eyes Only pursuant to the Stipulated Protective Order.
  19        12.      Attached hereto as Exhibit 11 is a true and correct copy of MindGeek
  20   S.a.r.l.’s July 2015 Confidential Information Memorandum (produced as
  21   MindGeek_Fleites_00008508). The MindGeek Defendants have designated
  22   MindGeek S.a.r.l.’s July 2015 Confidential Information Memorandum as Highly
  23   Confidential and Attorneys’ Eyes Only pursuant to the Stipulated Protective Order.
  24        13.      Attached hereto as Exhibit 12 is a true and correct copy of the Share
  25   Pledge Agreement, dated March 16, 2023 (produced as Tassillo_Fleites_00000914).
  26   The Defendants have designated this document as Highly Confidential.
  27        14.      Attached hereto as Exhibit 13 is a true and correct copy of an Excel
  28
                                              4             CASE NO. 21-CV-04920-CJC-ADS
                       DECLARATION OF MICHAEL J. BOWE IN SUPPORT OF
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   1   spreadsheet for MG Premium Ltd.’s List of suppliers with expenses of $500,000 and
   2   more expensed in Website operating expenses and Other operating expenses and all
   3   payments made to these suppliers during the same year, and list of all companies
   4   under management deals (expenses going to Website operating expenses) and all
   5   payments made to these companies (produced as MindGeek_Fleites_00097925).
   6   The MindGeek Defendants have designated this document as Highly Confidential
   7   and Attorneys’ Eyes Only.
   8        15.      Attached hereto as Exhibit 14 is a true and correct copy of an Excel
   9   spreadsheet for MG Freesites Ltd.’s List of suppliers with expenses of $500,000 and
  10   more expensed in Website operating expenses and Other operating expenses and all
  11   payments made to these suppliers during the same year (produced as
  12   MindGeek_Fleites_00097926). The MindGeek Defendants have designated this
  13   document as Highly Confidential and Attorneys’ Eyes Only.
  14        16.      Attached hereto as Exhibit 15 is a true and correct copy of MindGeek
  15   S.a.r.l.’s May 2014 Confidential Information Memorandum (produced as
  16   MindGeek_Fleites_00008664). The MindGeek Defendants have designated
  17   MindGeek S.a.r.l.’s May 2014 Confidential Information Memorandum as Highly
  18   Confidential and Attorneys’ Eyes Only pursuant to the Stipulated Protective Order.
  19        17.      Attached hereto as Exhibit 16 is a true and correct copy of an Excel
  20   spreadsheet containing MG Freesites Ltd.’s List of Suppliers with expenses of
  21   $500,000 and more expenses in Website operating expenses and other operating
  22   expenses and all payments made to these suppliers during the year of 2020
  23   (produced as MindGeek_Fleites_00098687). The MindGeek Defendants have
  24   designated this document as Highly Confidential and Attorneys’ Eyes Only.
  25        18.      Attached hereto as Exhibit 17 is a true and correct copy of an Excel
  26   spreadsheet containing MG Premium Ltd.’s List of Suppliers with expenses of
  27   $500,000 and more expenses in Website operating expenses and other operating
  28
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   1   expenses and all payments made to these suppliers during the same year, and list of
   2   all companies under management deals (expenses going to Website operating
   3   expenses) and all payments made to these companies (produced as
   4   MindGeek_Fleites_00098688). The MindGeek Defendants have designated this
   5   document as Highly Confidential and Attorneys’ Eyes Only.
   6        19.      Attached hereto as Exhibit 18 is a true and correct copy of Defendant
   7   Feras Antoon’s Responses and Objections to Plaintiff’s First Set of Interrogatories,
   8   dated September 22, 2022. Defendant Feras Antoon has designated the Interrogatory
   9   Responses and Objections as Confidential.
  10        20.      Attached hereto as Exhibit 19 is a true and correct copy of Defendant
  11   Bernd Bergmair’s Responses and Objections to Plaintiff’s First Set of
  12   Interrogatories, dated September 22, 2022. Defendant Bernd Bergmair’s Second
  13   Supplemental Responses and Objections to Plaintiff’s First Set of Interrogatories,
  14   dated June 14, 2023, and Defendant Bernd Bergmair’s Responses and Objections to
  15   Plaintiff’s Second Set of Interrogatories, dated June 15, 2023. Defendant Bernd
  16   Bergmair has designated the Interrogatory Responses and Objections as
  17   Confidential. Defendant Bernd Bergmair has designated the Interrogatory
  18   Responses and Objections as Confidential.
  19        21.      Attached hereto as Exhibit 20 is a true and correct copy of emails
  20   between MindGeek Employees (produced as Bergmair_Fleites_00000001,
  21   Bergmair_Fleites_00000038, Bergmair_Fleites_00000041,
  22   Bergmair_Fleites_00000101, Bergmair_Fleites_00000103,
  23   Bergmair_Fleites_00000106, Bergmair_Fleites_00000125,
  24   Bergmair_Fleites_00000128, Bergmair_Fleites_00000130,
  25   Bergmair_Fleites_00000132, Bergmair_Fleites_00000147,
  26   Bergmair_Fleites_00000164), a letter from Visa and National Center on Sexual
  27   Exploitation (produced as Bergmair_Fleites_00000003), Internal MindGeek Notes;
  28
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   1   "The news media" (produced as Bergmair_Fleites_00000009), a Draft Letter from
   2   MindGeek addressing concerns raised by VISA (produced as
   3   Bergmair_Fleites_00000011), emails between MindGeek Employees and Patreus
   4   (produced as Bergmair_Fleites_00000024, Bergmair_Fleites_00000084,
   5   Bergmair_Fleites_00000088, Bergmair_Fleites_00000091,
   6   Bergmair_Fleites_00000097, Bergmair_Fleites_00000141,
   7   Bergmair_Fleites_00000139, Bergmair_Fleites_00000144,
   8   Bergmair_Fleites_00000152), a letter from MindGeek addressing concerns raised
   9   by VISA to CardWorks Acquiring (Bergmair_Fleites_00000025), a letter from
  10   MindGeek to Mastercard (produced as Bergmair_Fleites_00000042), a letter from
  11   MG Billing US Corp to Partners addressing allegations (produced as
  12   Bergmair_Fleites_00000080), a letter from MindGeek addressing allegations
  13   (produced as Bergmair_Fleites_00000085, Bergmair_Fleites_00000089,
  14   Bergmair_Fleites_00000093), Feras Antoon’s contact information (produced as
  15   Bergmair_Fleites_00000087, Bergmair_Fleites_00000124,
  16   Bergmair_Fleites_00000177), emails between MindGeek Employees, Patreus and
  17   Mitchell Silberberg & Knupp LLP (produced as Bergmair_Fleites_00000095), a
  18   spreadsheet titled "Guidelines" (produced as Bergmair_Fleites_00000099), two
  19   Spreadsheets containing keywords in relation to CSAM (produced as
  20   Bergmair_Fleites_00000100), the MindGeek logo (produced as
  21   Bergmair_Fleites_00000105), a draft letter from MindGeek addressing concerns
  22   raised by VISA (produced as Bergmair_Fleites_00000107), a Teams Meeting Invite
  23   between MindGeek Employees (produced as Bergmair_Fleites_00000134), a letter
  24   from MindGeek addressing concerns raised by VISA to CardWorks Acquiring
  25   (produced as Bergmair_Fleites_00000135), a summary titled as "Partnerships and
  26   government contacts - Summary" (produced as Bergmair_Fleites_00000142), a
  27   spreadsheet titled “Black Channels,” “Grey Channels” (produced as
  28
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   1   Bergmair_Fleites_00000150), a spreadsheet titled “Black Channels” (produced as
   2   Bergmair_Fleites_00000154, Bergmair_Fleites_00000158), a spreadsheet titled
   3   “Grey Channels” (produced as Bergmair_Fleites_00000156,
   4   Bergmair_Fleites_00000160), Excel Sheets containing keywords (produced as
   5   Bergmair_Fleites_00000162), and a letter from MindGeek addressing allegations to
   6   Merrick Bank (produced as Bergmair_Fleites_00000165). Defendant Bergmair has
   7   designated these documents as Confidential pursuant to the Stipulated Protective
   8   Order.
   9        22.      Attached hereto as Exhibit 21 is a true and correct copy of emails
  10   exchanged in 2017 between MindGeek employees with the subject lines "week 2
  11   transition milestones" and "PEI week 2 transition milestones" (produced as
  12   Bergmair_Fleites_00000982). Defendant Bergmair has designated these emails as
  13   Confidential pursuant to the Stipulated Protective Order.
  14        23.      Attached hereto as Exhibit 22 is a true and correct copy of an email
  15   exchanged on May 5, 2017 between MindGeek employees with the subject line
  16   "Revised CIM and Refi Term sheet for Blake's" (produced as
  17   Bergmair_Fleites_00000984). Defendant Bergmair has designated this email as
  18   Confidential pursuant to the Stipulated Protective Order.
  19        24.      Attached hereto as Exhibit 23 is a true and correct copy of emails
  20   exchanged on October 22, 2017 between MindGeek employees with the subject line
  21   "2018 Strategy session-Day 3 Summary_V3" (produced as
  22   Bergmair_Fleites_00001068). Defendant Bergmair has designated these emails as
  23   Confidential pursuant to the Stipulated Protective Order.
  24        25.      Attached hereto as Exhibit 24 is a true and correct copy of the
  25   document titled MindGeek 2018 - Strategy Brainstorming, Summary and Action
  26   Items (produced as Bergmair_Fleites_00001069). Defendant Bergmair has
  27   designated this document as Highly Confidential and Attorneys’ Eyes Only pursuant
  28
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   1   to the Stipulated Protective Order.
   2        26.      Attached hereto as Exhibit 25 is a true and correct copy of emails
   3   exchanged in November 2017 between MindGeek employees and Frank Di Rocco
   4   (produced as Bergmair_Fleites_00001088). Defendant Bergmair has designated
   5   these emails as Confidential pursuant to the Stipulated Protective Order.
   6        27.      Attached hereto as Exhibit 26 is a true and correct copy of MindGeek
   7   S.a.r.l.’s Corporate Overview (produced as Bergmair_Fleites_00001098). Defendant
   8   Bergmair has designated MindGeek S.a.r.l.’s Corporate Overview as Confidential
   9   pursuant to the Stipulated Protective Order.
  10        28.      Attached hereto as Exhibit 27 is a true and correct copy of emailed
  11   meeting invitation between MindGeek employees with the subject line "Meeting
  12   (Bernard, Feras, David, Eddy)," dated January 23, 2018 (produced as
  13   Bergmair_Fleites_00001133). Defendant Bergmair has designated this email as
  14   Confidential pursuant to the Stipulated Protective Order.
  15        29.      Attached hereto as Exhibit 28 is a true and correct copy of emailed
  16   meeting invitations exchanged between MindGeek employees with the subject line
  17   "Spago Beverly Hills," dated January 24, 2018 (produced as
  18   Bergmair_Fleites_00001134). Defendant Bergmair has designated these emails as
  19   Confidential pursuant to the Stipulated Protective Order.
  20        30.      Attached hereto as Exhibit 29 is a true and correct copy of emails
  21   exchanged between MindGeek employees with the subject line "kink acquisition,"
  22   dated August 28, 2018 (produced as Bergmair_Fleites_00001220). Defendant
  23   Bergmair has designated these emails as Confidential pursuant to the Stipulated
  24   Protective Order.
  25        31.      Attached hereto as Exhibit 30 is a true and correct copy of emails
  26   exchanged in early 2019 between MindGeek employees and Google with the subject
  27   line "Google Response to MindGeek RFP for GCP" (produced as
  28
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  1   Bergmair_Fleites_00001235). Defendant Bergmair has designated these emails as
  2   Confidential pursuant to the Stipulated Protective Order.
  3        32.      Attached hereto as Exhibit 31 is a true and correct copy of emails
  4   exchanged April 2019 between MindGeek employees with the subject line "Online
  5   Harms White Paper" (produced as Bergmair_Fleites_00001263). Defendant
  6   Bergmair has designated these emails as Confidential pursuant to the Stipulated
  7   Protective Order.
  8        33.      Attached hereto as Exhibit 32 is a true and correct copy of an emailed
  9   meeting invitation exchanged between MindGeek employees with the subject line
 10   "Invitation: HOLD Meeting | MindGeek - Bernard Bergmair, Chairman of t… @ Fri
 11   May 17, 2019 11 am - 11:45 am (PDT)                              " (produced as
 12   Bergmair_Fleites_00001346). Defendant Bergmair has designated this email as
 13   Confidential pursuant to the Stipulated Protective Order.
 14        34.      Attached hereto as Exhibit 33 is a true and correct copy of emails
 15   exchanged in November 2019 between MindGeek employees with the subject line
 16   "Bank pack" (produced as Bergmair_Fleites_00001357). Defendant Bergmair has
 17   designated these emails as Confidential pursuant to the Stipulated Protective Order.
 18        35.      Attached hereto as Exhibit 34 is a true and correct copy of the August
 19   2019 MindGeek S.a.r.l. Management Presentation (produced as
 20   Bergmair_Fleites_00001380). Defendant Bergmair has designated the August 2019
 21   MindGeek S.a.r.l. Management Presentation as Highly Confidential and Attorneys’
 22   Eyes Only pursuant to the Stipulated Protective Order.
 23        36.      Attached hereto as Exhibit 35 is a true and correct copy of emails
 24   exchanged in April 2020 between MindGeek employees with the subject line
 25   "Project OTHER" (produced as Bergmair_Fleites_00001419). Defendant Bergmair
 26   has designated these emails as Confidential pursuant to the Stipulated Protective
 27   Order.
 28
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  1        37.      Attached hereto as Exhibit 36 is a true and correct copy of emails
  2   exchanged between MindGeek employees with the subject line "May 2020 Budget"
  3   (produced as Bergmair_Fleites_00001422). Defendant Bergmair has designated
  4   these emails as Confidential pursuant to the Stipulated Protective Order.
  5        38.      Attached hereto as Exhibit 37 is a true and correct copy of emails
  6   exchanged in May 2020 between MindGeek employees with the subject line
  7   "Mastercard request" (produced as Bergmair_Fleites_00001504). Defendant
  8   Bergmair has designated these emails as Confidential pursuant to the Stipulated
  9   Protective Order.
 10        39.      Attached hereto as Exhibit 38 is a true and correct copy of emails
 11   exchanged in 2020 between MindGeek employees with the subject line "Project
 12   OTHER" (produced as Bergmair_Fleites_00001508). Defendant Bergmair has
 13   designated these emails as Confidential pursuant to the Stipulated Protective Order.
 14        40.      Attached hereto as Exhibit 39 is a true and correct copy of emails
 15   exchanged in 2020 between MindGeek employees with the subject lines "[External]
 16   Upcoming calls" and "FW: Legal Tubes Audit update" (produced as
 17   Bergmair_Fleites_00001528). Defendant Bergmair has designated these emails as
 18   Confidential pursuant to the Stipulated Protective Order.
 19        41.      Attached hereto as Exhibit 40 is a true and correct copy of emails
 20   exchanged in 2017 between MindGeek and Patreus with the subject line "ltr"
 21   (produced as Bergmair_Fleites_00002292). Defendant Bergmair has designated
 22   these emails as Confidential pursuant to the Stipulated Protective Order.
 23        42.      Attached hereto as Exhibit 41 – Intentionally left blank.
 24        43.      Attached hereto as Exhibit 42 is a true and correct copy of a letter from
 25

 26                                      dividends, dated March 9, 2017 (produced as
 27   Bergmair_Fleites_00002294). Defendant Bergmair has designated this letter as
 28
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  1   Confidential pursuant to the Stipulated Protective Order.
  2        44.      Attached hereto as Exhibit 43 is a true and correct copy of a letter from
  3

  4                                            dated March 9, 2017 (produced as
  5   Bergmair_Fleites_00002295). Defendant Bergmair has designated this letter as
  6   Confidential pursuant to the Stipulated Protective Order.
  7        45.      Attached hereto as Exhibit 44 is a true and correct copy of a letter from
  8

  9               (produced as Bergmair_Fleites_00002296). Defendant Bergmair has
 10   produced this letter as Confidential pursuant to the Stipulated Protective Order.
 11        46.      Attached hereto as Exhibit 45 is a true and correct copy of emails
 12   exchanged between MindGeek and Patreus with the subject line "pmt direction"
 13   (produced as Bergmair_Fleites_00002297). Defendant Bergmair has produced these
 14   emails as Confidential pursuant to the Stipulated Protective Order.
 15        47.      Attached hereto as Exhibit 46 is a true and correct copy of emails
 16   exchanged between MindGeek and Patreus with the subject line "pmt direction"
 17   (produced as Bergmair_Fleites_00002298). Defendant Bergmair has produced these
 18   emails as Confidential pursuant to the Stipulated Protective Order.
 19        48.      Attached hereto as Exhibit 47 – Intentionally left blank.
 20        49.      Attached hereto as Exhibit 48 is a true and correct copy of a letter from
 21   Somerset Capital Limited to RT Holding S.a.r.l. with the subject line "RE: payment
 22   directions" (produced as Bergmair_Fleites_00002300). Defendant Bergmair has
 23   produced this letter as Confidential pursuant to the Stipulated Protective Order.
 24        50.      Attached hereto as Exhibit 49 is a true and correct copy of emails
 25   exchanged between MindGeek and Patreus with the subject line "pmt direction"
 26   (produced as Bergmair_Fleites_00002301). Defendant Bergmair has produced
 27   these emails as Confidential pursuant to the Stipulated Protective Order.
 28
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  1        51.      Attached hereto as Exhibit 50 – Intentionally left blank.
  2        52.      Attached hereto as Exhibit 51 is a true and correct copy of a letter from
  3                                                     with the subject line "RE: payment
  4   directions" (produced as Bergmair_Fleites_00002303). Defendant Bergmair has
  5   produced this letter as Confidential pursuant to the Stipulated Protective Order.
  6        53.      Attached hereto as Exhibit 52 is a true and correct copy of emails
  7   exchanged between MindGeek and Patreus with the subject line "payment direction"
  8   (produced as Bergmair_Fleites_00002304). Defendant Bergmair has produced these
  9   emails as Confidential pursuant to the Stipulated Protective Order.
 10        54.      Attached hereto as Exhibit 53 is a true and correct copy of a letter from
 11                                                     with the subject line "RE: payment
 12   directions" (produced as Bergmair_Fleites_00002305). Defendant Bergmair has
 13   produced this letter as Confidential pursuant to the Stipulated Protective Order.
 14        55.      Attached hereto as Exhibit 54 is a true and correct copy of emails
 15   exchanged between MindGeek and Patreus with the subject line "payment direction"
 16   (produced as Bergmair_Fleites_00002306). Defendant Bergmair has produced these
 17   emails as Confidential pursuant to the Stipulated Protective Order.
 18        56.      Attached hereto as Exhibit 55 is a true and correct copy of emails
 19   exchanged between MindGeek and Patreus with the subject line "ltr" (produced as
 20   Bergmair_Fleites_00002307). Defendant Bergmair has produced these emails as
 21   Confidential pursuant to the Stipulated Protective Order.
 22        57.      Attached hereto as Exhibit 56 is a true and correct copy of a letter from
 23                                                     with the subject line "RE: payment
 24   directions" (produced as Bergmair_Fleites_00002308). Defendant Bergmair has
 25   produced this letter as Confidential pursuant to the Stipulated Protective Order.
 26        58.      Attached hereto as Exhibit 57 is a true and correct copy of emails
 27   exchanged between MindGeek and Patreus with the subject line "payment direction"
 28
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  1   (produced as Bergmair_Fleites_00002309). Defendant Bergmair has produced these
  2   emails as Confidential pursuant to the Stipulated Protective Order.
  3        59.      Attached hereto as Exhibit 58 is a true and correct copy of emails
  4   exchanged between MindGeek and Patreus with the subject line "ltr" (produced as
  5   Bergmair_Fleites_00002311). Defendant Bergmair has produced these emails as
  6   Confidential pursuant to the Stipulated Protective Order.
  7        60.      Attached hereto as Exhibit 59 is a true and correct copy of a letter from
  8                                                     with the subject line "RE: payment
  9   directions" (produced as Bergmair_Fleites_00002312). Defendant Bergmair has
 10   produced this letter as Confidential pursuant to the Stipulated Protective Order.
 11        61.      Attached hereto as Exhibit 60 is a true and correct copy of emails
 12   exchanged between MindGeek and Patreus with the subject line "ltr" (produced as
 13   Bergmair_Fleites_00002313). Defendant Bergmair has produced these emails as
 14   Confidential pursuant to the Stipulated Protective Order.
 15        62.      Attached hereto as Exhibit 61 is a true and correct copy of a letter from
 16                                                     with the subject line "RE: payment
 17   directions" (produced as Bergmair_Fleites_00002314). Defendant Bergmair has
 18   produced this letter as Confidential pursuant to the Stipulated Protective Order.
 19        63.      Attached hereto as Exhibit 62 is a true and correct copy of emails
 20   exchanged between MindGeek and Patreus with the subject line “payment”
 21   (produced as Bergmair_Fleites_00002315). Defendant Bergmair has produced these
 22   emails as Confidential pursuant to the Stipulated Protective Order.
 23        64.      Attached hereto as Exhibit 63 is a true and correct copy of a letter from
 24                                                     with the subject line "RE: payment
 25   directions" (produced as Bergmair_Fleites_00002316). Defendant Bergmair has
 26   produced this letter as Confidential pursuant to the Stipulated Protective Order.
 27        65.      Attached hereto as Exhibit 64 is a true and correct copy of the February
 28
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  1   14, 2017 Services Agreement (produced as MindGeek_Fleites_00007123),
  2   Termination Agreement (produced as MindGeek_Fleites_00007137), February 14,
  3   2017 Server Cost Sharing Agreement (produced as MindGeek_Fleites_00007144),
  4   Termination Agreement (produced as MindGeek_Fleites_00007148), the January 1,
  5   2016 Services Agreement (produced as MindGeek_Fleites_00007155), the January
  6   1, 2019 Services Agreement (produced as MindGeek_Fleites_00007164), the
  7   November 1, 2020 Services Agreement (produced as
  8   MindGeek_Fleites_00007175), the January 1, 2019 Server Cost Sharing Agreement
  9   (produced as MindGeek_Fleites_00007183), and the January 1, 2019 First
 10   Amendment to the Server Cost Sharing Agreement (produced as
 11   MindGeek_Fleites_00007186). The MindGeek Defendants have produced these
 12   documents as Confidential pursuant to the Stipulated Protective Order.
 13        66.      Attached hereto as Exhibit 65 is a true and correct copy of an IP
 14   License Agreement (produced as MindGeek_Fleites_00012267). The MindGeek
 15   Defendants have designated this IP License Agreement as Highly Confidential and
 16   Attorneys’ Eyes Only pursuant to the Stipulated Protective Order.
 17        67.      Attached hereto as Exhibit 66 – Intentionally left blank.
 18        68.      Attached hereto as Exhibit 67 is a true and correct copy of the 2014
 19   MindGeek Group Financial Reporting Package (produced as
 20   MindGeek_Fleites_00001578). The MindGeek Defendants have designated this
 21   document as Confidential pursuant to the Stipulated Protective Order.
 22        69.      Attached hereto as Exhibit 68 is a true and correct copy of the 2015
 23   MindGeek Group Financial Reporting Package (produced as
 24   MindGeek_Fleites_00001579). The MindGeek Defendants have designated this
 25   document as Confidential pursuant to the Stipulated Protective Order.
 26        70.      Attached hereto as Exhibit 69 is a true and correct copy of the 2016
 27   MindGeek Group Financial Reporting Package (produced as
 28
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  1   MindGeek_Fleites_00001580). The MindGeek Defendants have designated this
  2   document as Confidential pursuant to the Stipulated Protective Order.
  3        71.      Attached hereto as Exhibit 70 is a true and correct copy of the 2017
  4   MindGeek Group Financial Reporting Package (produced as
  5   MindGeek_Fleites_00001581). The MindGeek Defendants have designated this
  6   document as Confidential pursuant to the Stipulated Protective Order.
  7        72.      Attached hereto as Exhibit 71 is a true and correct copy of the 2018
  8   MindGeek Group Financial Reporting Package (produced as
  9   MindGeek_Fleites_00001582). The MindGeek Defendants have designated this
 10   document as Confidential pursuant to the Stipulated Protective Order.
 11        73.      Attached hereto as Exhibit 72 is a true and correct copy of the 2019
 12   MindGeek Group Financial Reporting Package (produced as
 13   MindGeek_Fleites_00001583). The MindGeek Defendants have designated this
 14   document as Confidential pursuant to the Stipulated Protective Order.
 15        74.      Attached hereto as Exhibit 73 is a true and correct copy of the 2020
 16   MindGeek Group Financial Reporting Package (produced as
 17   MindGeek_Fleites_00001584). The MindGeek Defendants have designated this
 18   document as Confidential pursuant to the Stipulated Protective Order.
 19        75.      Attached hereto as Exhibit 74 is a true and correct copy of the 2021
 20   MindGeek Group Financial Reporting Package (produced as
 21   MindGeek_Fleites_00001585). The MindGeek Defendants have designated this
 22   document as Confidential pursuant to the Stipulated Protective Order.
 23        76.      Attached hereto as Exhibit 75 is a true and correct copy of the Further
 24   Amended and Restated Executive Employment Agreement of March 22, 2018
 25   between 9129-1568 Quebec Inc. and Feras Antoon (produced as
 26   MindGeek_Fleites_00000020). The MindGeek Defendants have designated this
 27   document as Confidential pursuant to the Stipulated Protective Order.
 28
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  1        77.      Attached hereto as Exhibit 76 is a true and correct copy of the Further
  2   Amended and Restated Executive Employment Agreement between 9219-1568
  3   Quebec Inc. and David Tassillo (produced as MindGeek_Fleites_00000042). The
  4   MindGeek Defendants have designated this document as Confidential pursuant to
  5   the Stipulated Protective Order.
  6        78.      Attached hereto as Exhibit 77 is a true and correct copy of email
  7   exchanges between MindGeek, PolleyFaith, and Pornhub with the subject line “RE:
  8   Inquiries from UK” (produced as Bergmair_Fleites_00002008). Defendant
  9   Bergmair has designated these emails as Confidential pursuant to the Stipulated
 10   Protective Order.
 11        79.      Attached hereto as Exhibit 78 – Intentionally left blank.
 12        80.      Attached hereto as Exhibit 79 – Intentionally left blank.
 13        81.      Attached hereto as Exhibit 80 – Intentionally left blank.
 14        82.      Attached hereto as Exhibit 81 – Intentionally left blank.
 15        83.      Attached hereto as Exhibit 82 – Intentionally left blank.
 16        84.      Attached hereto as Exhibit 83 is a true and correct copy of emails
 17   exchanged between MindGeek and Patreus with the subject line "ltr" (produced as
 18   Bergmair_Fleites_00002328). Defendant Bergmair has designated these emails as
 19   Confidential pursuant to the Stipulated Protective Order.
 20        85.      Attached hereto as Exhibit 84 is a true and correct copy of a letter from
 21                                                     concerning
 22   dividends (produced as Bergmair_Fleites_00002329). Defendant Bergmair has
 23   designated this letter as Confidential pursuant to the Stipulated Protective Order.
 24        86.      Attached hereto as Exhibit 85 is a true and correct copy of a letter from
 25                                                     with the subject line "RE:
 26                              " (produced as Bergmair_Fleites_00002330). Defendant
 27   Bergmair has designated this letter as Confidential pursuant to the Stipulated
 28
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  1   Protective Order.
  2        87.      Attached hereto as Exhibit 86 is a true and correct copy of emails
  3   exchanged between MindGeek and Patreus with the subject line "ltr" (produced as
  4   Bergmair_Fleites_00002331). Defendant Bergmair has designated these emails as
  5   Confidential pursuant to the Stipulated Protective Order.
  6        88.      Attached hereto as Exhibit 87 is a true and correct copy of a letter from
  7                                                     with the subject line "RE:
  8                    dividends" (produced as Bergmair_Fleites_00002332). Defendant
  9   Bergmair has designated this letter as Confidential pursuant to the Stipulated
 10   Protective Order.
 11        89.      Attached hereto as Exhibit 88 is a true and correct copy of emails
 12   exchanged between MindGeek and Patreus with the subject line "dividends"
 13   (produced as Bergmair_Fleites_00002333). Defendant Bergmair has designated
 14   these emails as Confidential pursuant to the Stipulated Protective Order.
 15        90.      Attached hereto as Exhibit 89 – Intentionally left blank.
 16        91.      Attached hereto as Exhibit 90 – Intentionally left blank.
 17        92.      Attached hereto as Exhibit 91 is a true and correct copy of emails
 18   exchanged between MindGeek and Patreus with the subject line "Summary of 2019
 19   details" (produced as Bergmair_Fleites_00002449). Defendant Bergmair has
 20   designated these emails as Confidential pursuant to the Stipulated Protective Order.
 21        93.      Attached hereto as Exhibit 92 – Intentionally left blank.
 22        94.      Attached hereto as Exhibit 93 is a true and correct copy of emails
 23   exchanged between MindGeek and Patreus with the subject line “Re: div history”
 24   (produced as Bergmair_Fleites_00002456). Defendant Bergmair has designated
 25   these emails as Confidential pursuant to the Stipulated Protective Order.
 26        95.      Attached hereto as Exhibit 94 is a true and correct copy of Excel Sheet
 27   with a Tab named "Shareholder dis from 2014" (produced as
 28
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  1   Bergmair_Fleites_00002458). Defendant Bergmair has designated this document as
  2   Confidential pursuant to the Stipulated Protective Order.
  3        96.      Attached hereto as Exhibit 95 is a true and correct copy of and emails
  4   exchanged between MindGeek and Patreus with the subject line "2019 distributions"
  5   (produced as Bergmair_Fleites_00002459). Defendant Bergmair has designated
  6   these emails as Confidential pursuant to the Stipulated Protective Order.
  7        97.      Attached hereto as Exhibit 96 is a true and correct copy of the Excel
  8   Sheet with Tabs named "Shareholder dis from 2014", "BB 2019 distributions", and
  9   "BB 2020 distributions" (produced as Bergmair_Fleites_00002460). Defendant
 10   Bergmair has designated this document as Confidential pursuant to the Stipulated
 11   Protective Order.
 12        98.      Attached hereto as Exhibit 97 is a true and correct copy of MindGeek
 13   S.a.r.l. Consolidated Financial Statement, dated December 31, 2019 (produced as
 14   Bergmair_Fleites_00001429). Defendant Bergmair has designated this document as
 15   Confidential pursuant to the Stipulated Protective Order.
 16        99.      Attached hereto as Exhibit 98 are excerpts from the Transcript of the
 17   July 19, 2024 Summary Judgment Hearing for Jane Doe v. MindGeek USA et al.,
 18   Case No. 8:21-cv-00338-WLH-ADS (Dkt. 370).
 19        100.     Attached hereto as Exhibit 99 is a true and correct copy of the Hosting
 20   Agreement Between                                                           (produced
 21   as MindGeek_Fleites_00030407). The MindGeek Defendants have designated this
 22   Agreement as Highly Confidential and Attorneys' Eyes Only pursuant to the
 23   Stipulated Protective Order.
 24        101.     Attached hereto as Exhibit 100 is a true and correct copy of an excel
 25   titled “LIPI Expenses Allocation” for 2019 (produced as
 26   MindGeek_Fleites_00066311). The MindGeek Defendants have designated this
 27   document as Confidential pursuant to the Stipulated Protective Order.
 28
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  1        102.   Attached hereto as Exhibit 101 is a true and correct copy of an excel
  2   titled “LIPI Expenses Allocation” for 2014 (produced as
  3   MindGeek_Fleites_00067772). The MindGeek Defendants have designated this
  4   document as Confidential pursuant to the Stipulated Protective Order.
  5        103.   Attached hereto as Exhibit 102 is a true and correct copy of an excel
  6   titled “LIPI Expenses Allocation” for 2015 produced as
  7   MindGeek_Fleites_00067773). The MindGeek Defendants have designated this
  8   document as Confidential pursuant to the Stipulated Protective Order.
  9        104.   Attached hereto as Exhibit 103 is a true and correct copy of an excel
 10   titled “LIPI Expenses Allocation” for 2016 (produced as
 11   MindGeek_Fleites_00067774). The MindGeek Defendants have designated this
 12   document as Confidential pursuant to the Stipulated Protective Order.
 13        105.   Attached hereto as Exhibit 104 is a true and correct copy of an excel
 14   titled “LIPI Expenses Allocation” for 2017 (produced as
 15   MindGeek_Fleites_00067775). The MindGeek Defendants have designated this
 16   document as Confidential pursuant to the Stipulated Protective Order.
 17        106.   Attached hereto as Exhibit 105 is a true and correct copy of an excel
 18   titled “LIPI Expenses Allocation” for 2018 (produced as
 19   MindGeek_Fleites_00067776). The MindGeek Defendants have designated this
 20   document as Confidential pursuant to the Stipulated Protective Order.
 21        107.   Attached hereto as Exhibit 106 is a true and correct copy of an excel
 22   titled “LIPI Expenses Allocation” for 2020 (produced as
 23   MindGeek_Fleites_00067777). The MindGeek Defendants have designated this
 24   document as Confidential pursuant to the Stipulated Protective Order.
 25        108.   Attached hereto as Exhibit 107 is a true and correct copy of the
 26   MindGeek Entities’ Shareholders’ Agreement, dated October 18, 2013 (produced as
 27   MindGeek_Fleites_00001814). The MindGeek Defendants have designated this
 28
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  1   Agreement as Confidential pursuant to the Stipulated Protective Order.
  2

  3        I declare under penalty of perjury under the laws of the United States that the
  4   foregoing is true and correct.
  5        Executed this 30th day of October 2024 in New York, New York.
  6

  7
                                                   BROWN RUDNICK LLP

  8                                                By: /s/ Michael Bowe
  9                                                   Michael J. Bowe

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